Case 6:22-cv-00028-NKM Document 18-6 Filed 06/13/22 Page 1 of 13 Pageid#: 570




                          Exhibit B
                Examples of Medical Records
               Case 6:22-cv-00028-NKM Document 18-6 Filed 06/13/22 Page 2 of 13 Pageid#: 571




Confidential                                                                            ENVIGO_00001520
               Case 6:22-cv-00028-NKM Document 18-6 Filed 06/13/22 Page 3 of 13 Pageid#: 572




Confidential                                                                            ENVIGO_00001521
               Case 6:22-cv-00028-NKM Document 18-6 Filed 06/13/22 Page 4 of 13 Pageid#: 573




Confidential                                                                            ENVIGO_00001522
               Case 6:22-cv-00028-NKM Document 18-6 Filed 06/13/22 Page 5 of 13 Pageid#: 574




Confidential                                                                            ENVIGO_00001523
               Case 6:22-cv-00028-NKM Document 18-6 Filed 06/13/22 Page 6 of 13 Pageid#: 575




Confidential                                                                            ENVIGO_00001524
               Case 6:22-cv-00028-NKM Document 18-6 Filed 06/13/22 Page 7 of 13 Pageid#: 576




Confidential                                                                            ENVIGO_00001525
               Case 6:22-cv-00028-NKM Document 18-6 Filed 06/13/22 Page 8 of 13 Pageid#: 577




Confidential                                                                            ENVIGO_00001526
               Case 6:22-cv-00028-NKM Document 18-6 Filed 06/13/22 Page 9 of 13 Pageid#: 578




Confidential                                                                            ENVIGO_00001527
               Case 6:22-cv-00028-NKM Document 18-6 Filed 06/13/22 Page 10 of 13 Pageid#: 579




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               Case 6:22-cv-00028-NKM Document 18-6 Filed 06/13/22 Page 11 of 13 Pageid#: 580




Confidential                                                                            ENVIGO_00001529
               Case 6:22-cv-00028-NKM Document 18-6 Filed 06/13/22 Page 12 of 13 Pageid#: 581




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               Case 6:22-cv-00028-NKM Document 18-6 Filed 06/13/22 Page 13 of 13 Pageid#: 582




Confidential                                                                            ENVIGO_00001531
